

ORDER

PER CURIAM:
AND NOW, this 21st day of March, 1996, there having been filed with this Court by Anthony A. Witlin his verified Statement of Resignation dated January 23, 1996, stating that he desires to resign from the Bar of the Commonwealth of Pennsylvania in accordance with the provisions of Rule 215, Pa. R.D.E., it is
ORDERED that the resignation of Anthony A Witlin be and it is hereby accepted and he is DISBARRED ON CONSENT from the Bar of the Commonwealth of Pennsylvania, retroactive to March 31, 1995; and it is further ORDERED that he shall comply with the provisions of Rule 217, Pa.R.D.E. Respondent shall pay costs, if any, to the Disciplinary Board pursuant to Rule 208(g), Pa. R.D.E.
